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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-02621-DDD

SCHUMÉ NAVARRO,

       Plaintiff,

v.

CHERRY CREEK SCHOOL DISTRICT NO. 5,

      Defendant.
______________________________________________________________________________

    DEFENDANT’S RESPONSE TO MOTION FOR PRELIMINARY INJUNCTION
_____________________________________________________________________________

       Defendant Cherry Creek School District No. 5 (the “School District”), by and through its

undersigned attorneys, hereby responds in accordance with the Court’s September 29, 2021 Order

(Doc. 7) to Plaintiff’s motion for a preliminary injunction, as follows:

                                        INTRODUCTION

       Plaintiff Schumé Navarro, a candidate for the School District Board of Education

(“Board”), filed this disability discrimination action because, as stated on a recording she took of

herself and published to the public, she “does not want to comply” with face mask mandates during

the COVID-19 pandemic, including a Public Health Order (“PHO”) that the Tri-County Health

Department (“TCHD”) issued concerning school settings within the School District. Navarro

claims discrimination after the School District rejected her exemption request, which did not

comply with the PHO for multiple reasons. She filed an Emergency Motion for Temporary

Restraining Order & Preliminary Injunction (Doc. 2, the “Motion”) requesting the Court direct

the School District “to allow her access to and participation in its school board candidate forums
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and other events open to the public without requiring her to wear a face covering.” The Court

declined to issue an ex parte temporary restraining order and ordered briefing on the request for a

preliminary injunction. Doc. 7. Navarro has been afforded the opportunity to participate remotely

in all candidate forums held since September 28, 2021, yet she persists in seeking emergency

injunctive relief. Navarro’s motion for a preliminary injunction should be denied.

                                            BACKGROUND

    A. The Tri-County Health Department Orders Universal Masking in School Settings to Protect
       the Public, Particularly Children.

        As of October 4, 2021, there have been 698,672 deaths in the United States from the

COVID-19        virus.    Centers     for    Disease     Control,     COVID        Data    Tracker,     at

https://covid.cdc.gov/covid-data-tracker/#datatracker-home (last checked Oct. 4, 2021).

        On August 31, 2021, the Tri-County Health Department (“TCHD”) issued a Public Health

Order (“PHO”) “requiring facial coverings to be worn by all individuals age 2 years and older in

all School” settings in Arapahoe County, Colorado (where the School District is located). Doc. 2-

10, p. 1. TCHD issued the PHO in response to “a marked rise” of cases of COVID-19 “among

children1 in TCHD’s jurisdiction” due to the extremely contagious Delta variant, and because

“scientific evidence shows that the wearing of facial coverings by individuals assists in reducing

virus transmission by reducing the spread of respiratory droplets.” Id.

        TCHD further noted that the United States Centers for Disease Control (“CDC”) and the

Colorado Department of Public Health and Environment likewise “recommend universal indoor




1
 COVID-19 vaccines are not yet available for children younger than 12. U.S. Food & Drug Administration, FDA
Approves First COVID-19 Vaccine, at https://www.fda.gov/news-events/press-announcements/fda-approves-first-
covid-19-vaccine (last checked Oct. 3, 2021).

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masking” in school settings “in order to prioritize critical in-person learning,” with the CDC

finding that “adopting universal masking policies can help avert school closures and isolation or

quarantine.” Id., p. 2.

         Not requiring universal masking would “pose considerable risk to individuals, including

(1) risk to the health of children, especially those not yet eligible to receive the COVID-19 vaccine,

(2) risk of transmission from infected children, staff, or teachers to family and others outside of

the Child Care and School Settings, especially for those at higher risk of complications from

COVID-19, and (3) risk of interference with in-person learning and other educational activities

due to isolation of positive cases and quarantine of children exposed in these situations.” Id.

         TCHD provided two “exemptions” from the PHO: “those under age 2” and

                Individuals who cannot medically tolerate a Face Covering and who
                have submitted to the School or Child Care Setting a statement
                provided by a Colorado-licensed medical provider on the provider’s
                letterhead including the following:
                      a. Medical provider’s printed name, license number, address,
                          phone number;
                      b. Signature of the medical provider;
                      c. Identification of the medical condition preventing the
                          individual from wearing a mask and any recommended
                          alternative to the mask.
Id., p. 3.

         It ordered that “Except for the limited exemptions and exceptions provided above, no

facility subject to this Order may allow an individual to enter or remain within their indoor space

unless the individual is wearing a Face Covering as required by this Order.” Id., p. 4. The School

District has complied with the PHO. Ex. A, Affidavit of Jennifer Perry, ¶ 3. Protecting the safety

of its students and the community and striving for in-person school are among its highest priorities.

Id. at ¶ 4.


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   B. Navarro Attends Board of Education Functions, Resists Wearing a Functioning Mask, and
      Seeks a Medical Exemption; the School District Denies it as Insufficient.

       Navarro, a candidate for a seat on the School District’s Board of Education (“Board”),

attended a September 10, 2021 work session of the Board. Id. at ¶ 5. There, Navarro wore a see-

through face covering; security staff repeatedly told her to pull it up to cover her mouth and nose.

Id. What Navarro wore was not a “Face Covering” as the PHO defined it. Id. Navarro had given

an interview in May 2021 acknowledging that the masks she wore were a “joke.” Id. School

District Deputy Superintendent Jennifer Perry had previously sent all candidates for the Board,

including Navarro, an email outlining mask expectations at the candidate forums. Id. After the

September 10, 2021 work session, Deputy Superintendent Perry sent Navarro an email including

information from TCHD about the PHO and asking her to wear an appropriate face covering in

School District buildings. Id.; Doc. 2-3, pp. 3-13.

       At 2:50 a.m. on September 13, 2021, Navarro responded, indicating “I have a letter that I

will bring from my doctor noting my medical exemption from all face coverings.” Ex A, ¶ 6; Doc.

2-3, pp. 2-3. Navarro sent the email again at 9:50 a.m. Ex. A, ¶ 6; Doc. 2-3, pp. 1-2. At 11:06 a.m.,

Deputy Superintendent Perry responded and asked Navarro to submit the documentation the PHO

required for an exemption. Ex. A, ¶ 6; Doc. 2-3, p. 1.

       At 1:59 p.m., Navarro sent the School District an email claiming to enclose her “Dr.’s letter

of exemption.” Ex. A, ¶ 7; Doc. 2-2, p. 1. The attachment was not signed by a doctor. Instead,

Navarro included a letter from a Licensed Professional Counselor that provided in relevant part:

               I am writing on behalf of my patient Schume Navarro. She cannot
               medically tolerate a face covering due to a prior suffocation trauma
               that she has experienced. Based, [sic] on this history, I feel she
               would need an exemption from having to wear a mask.


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               I have a Colorado license LPC #2122. The mental health diagnostic
               code I have in [sic] file on her is 209.28 F43.23.

Ex. A, ¶ 7; Doc. 2-2, p. 4. The letter was not from a “medical provider” as the PHO defined, did

not give the name of the medical condition Navarro had, nor did it provide “any recommended

alternative to the mask.” Ex. A, ¶ 7; Doc. 2-2, p. 4. Navarro also sent a UCHealth “Health

Summary” listing various “health issues.” Ex. A, ¶ 7; Doc. 2-2, p. 3.

       Navarro had posted a video of herself on social media indicating that “my doctors at

UCHealth will not give an exemption.” Ex. A, ¶ 8, Ex. A-1, Social Media Video. In January 2021,

Navarro had also posted on social media a photograph of herself wearing a mask, captioned:

“Who’s with me on getting patriot fit? I HATE the whole mask thing but I hate the thought of

being weak and out of shape at the brink of civil war.” Ex. A, ¶ 8, Ex. A-1.1, Social Media Post.

These postings made Deputy Superintendent Perry, as part of a team put together to consider the

requests, question the information she had received. Ex. A, ¶ 9.

       At 3:25 p.m., the School District sent Navarro an email indicating that her “submission is

not compliant with the requirements of the Tri-County Health Department public health order for

requesting mask exemptions,” including that the supporting letter was not issued by a Colorado

licensed medical provider as required by the PHO. Ex. A, ¶ 10; Doc. 2-4. The email invited

Navarro to provide the information the PHO required. Id. That evening, Navarro attended a

meeting of the Board, again wearing the see-through mask that she had already been told was

insufficient. Ex. A, ¶ 11.




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      C. Navarro Attends a Board Candidate Forum; Days Later, the School District Receives a
         Video of Navarro Indicating She Does not Wear a Mask Because She Doesn’t “Want to
         Comply to All of This.”

         A Board candidate forum was scheduled for 6:30 p.m. the following day, September 14,

2021, in the auditorium at the School District’s Overland High School. Ex. A, ¶ 12. Many students

were present in the High School’s lobby while the audience was filing into the auditorium. Id.

Navarro attended, attempting to gain entry without a mask. Id. She argued with a security guard

about the mask requirement and with officials who told her that the see-through mask she wanted

to wear was not sufficient. Id. Navarro was handed a disposable mask that she was seen wearing

at the forum. Id. She participated in the forum, but had to be told to pull her mask over her nose.

Id.

         On September 16, 2021, a community member sent the School District a video Navarro

had posted where she said: “And I’m sorry. I get that you are offended that I do not wear a mask.

I don’t wear it because I don’t want to comply to [sic] all of this.” Ex. A, ¶ 13; Ex. A-2, Second

Social Media Video. This made Deputy Superintendent Perry further question the material Navarro

had supplied. Ex. A, ¶ 13.

         On September 20, 2021, Deputy Superintendent Perry sent an email to all Board candidates

indicating that all candidates would be required to adhere to the “mask-wearing guidelines.” Ex.

A, ¶ 14; Doc. 2-5. Another candidate forum was held on September 21, 2021 at the School

District’s Eaglecrest High School. Ex. A, ¶ 14. Navarro did not attend. Id.

      D. Navarro Does not Attend the September 22, 2021 Forum; Arrangements are Made for her
         to Participate Remotely at the September 28, 2021 Forum, but Navarro does not Participate.

         On September 22, 2021, 92 minutes before the candidate forum scheduled that evening at

Cherry Creek High School, Navarro’s attorney wrote to the School District’s general counsel

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requesting accommodations on Navarro’s behalf. Ex. A, ¶ 15. Among other things, he suggested

that Navarro be allowed to wear a “semi-porous mask.” Id. Approximately an hour before the

forum began, Navarro’s counsel raised the possibility of remote participation. Id. Remote

participation could not have been arranged with so little notice. Id. Navarro was told that the School

District would consider her request for accommodation once she provided the information required

by the PHO for an exemption. Id.; Doc. 2-6. Navarro did not attempt to gain entry to the candidate

forum that evening; she passed out campaign literature to those entering the building. Ex. A, ¶ 15.

       On September 27, 2021, despite not receiving anything additional from Navarro, the

School District offered Navarro the opportunity to participate in the upcoming September 28, 2021

forum remotely. Ex. A, ¶ 16; Exs. A-3 & A-3.1, Teams Meeting Invitations. The School District

offered Navarro technical support to do so. Ex. A, ¶ 16; Ex. A-4, Email Offering Technical

Support. It set up a monitor on stage on which Navarro would have appeared and been able to

communicate with the audience. Ex. A, ¶ 16, Ex. A-5 & A-5.1, Photographs. Navarro nevertheless

did not participate in the forum. Ex. A, ¶ 16. Nor did she contact technical support. Id.

   E. Navarro is Granted the Opportunity to Participate Remotely in all Remaining Candidate
      Forums.

       The School District subsequently informed Navarro that she could participate remotely in

all future candidate forums hosted or sponsored by the School District. Id. at ¶ 17. Navarro

participated remotely in the September 30, 2021 candidate forum at Smoky Hill High School. Id.

                                  STANDARD OF DECISION

       “[A] preliminary injunction is an extraordinary remedy” and “the right to relief must be

clear and unequivocal.” Schrier v. Univ. of Colo., 427 F.3d 1253, 1258 (10th Cir. 2005) (citation

omitted). The movant must meet four prerequisites: (1) a substantial likelihood of prevailing on

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the merits; (2) irreparable injury unless injunctive relief is provided; (3) injury to the movant

outweighs whatever damage the proposed injunction may cause the opposing party; and (4) the

injunction, if issued, would not be adverse to the public interest. E.g., Kikumura v. Hurley, 242

F.3d 950, 955 (10th Cir. 2001).

        Navarro incorrectly argues that she may only need to prove a reduced burden on the first

element. Motion, ¶ 18. Because she asks the Court to direct the School District to perform certain

acts, rather than to simply preserve the status quo, she seeks a historically disfavored mandatory

injunction. O Centro Espirita Beneficiente Uniao Do Vegetal v. Ashcroft, 389 F.3d 973, 975 (10th

Cir. 2004). This means the burdens she must prove in this situation are more severe, not less. Id.

Mandatory injunctions “must be more closely scrutinized to assure that the exigencies of this case

support the granting of a remedy that is extraordinary even in the normal course.” Id. “[A] party

seeking such an injunction must make a strong showing both with regard to the likelihood of

success on the merits and with regard to the balance of harms.” Id. at 976.

                                                 ARGUMENT

    A. Navarro Cannot Make a Strong Showing of Likelihood of Success on the Merits.

        Navarro presses claims under Title II of the Americans with Disabilities Act (“ADA”), the

Rehabilitation Act, and the Colorado Anti-Discrimination Act.2 Motion, ¶ 20. She concedes that

the ADA’s standards control all her claims. See id. & n. 3.

        The relevant ADA provision is 42 U.S.C. § 12132, which provides: “Subject to the

provisions of this title, no qualified individual with a disability shall, by reason of such disability,


2
 Navarro’s claim pursuant to the Colorado Anti-Discrimination Act is subject to immediate dismissal for failure to
even allege exhaustion of administrative remedies. See, e.g., Zapata v. Colo. Christian Univ., 2019 WL 1544179, **3-
4 (D. Colo. March 15, 2019) (unpublished).

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be excluded from participation in or be denied the benefits of the services, programs, or activities

of a public entity, or be subjected to discrimination by any such entity.” For the reasons stated

below, Navarro has not shown a likelihood of success on her claim, let alone a strong showing,

that would allow the Court to grant a preliminary injunction.

               a. The School District was Required to Conduct an “Individualized Assessment” of
                  Navarro to Determine Whether Accommodation was Possible Without
                  Endangering the Health or Safety of Others Based on “Guidance of Public Health
                  Authorities;” Navarro Discouraged the Process, Resulting in the Conclusion that
                  she was a “Direct Threat” and Therefore not a “Qualified Individual”3 Entitled to
                  Protection by the ADA.

           The Department of Justice (“DOJ”) promulgated regulations to implement the

nondiscrimination mandate of Title II. Robertson v. Las Animas Cnty. Sheriff’s Dep’t, 500 F.3d

1185, 1195 (10th Cir. 2007). Those regulations are entitled to substantial deference. Marcus v.

Kan. Dept. of Rev., 170 F.3d 1035, 1307 n. 1 (10th Cir. 1999).

           In 1991, the DOJ wrote about the accommodations process public entities must undergo

“where questions of safety are involved.” 28 C.F.R. App. B to Part 35. It provided that, like a

private sector place of public accommodation, public entities are “not required to permit an

individual to participate in or benefit from the goods, services, facilities, privileges, advantages

and accommodations of the public accommodation, if that individual poses a direct threat to the

health or safety of others.” Id. It elaborated from there:

                    A “direct threat” is a significant risk to the health or safety of others
                    that cannot be eliminated by a modification of policies, practices, or
                    procedures, or by the provision of auxiliary aids or services. In
                    School Board of Nassau County v. Arline, 480 U.S. 273 (1987), the
                    Supreme Court recognized that there is a need to balance the
                    interests of people with disabilities against legitimate concerns for
                    public safety. Although persons with disabilities are generally

3
    This section addresses the second question posed by the Court in Doc. 7.

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                entitled to the protection of this part, a person who poses a
                significant risk to others will not be “qualified,” if reasonable
                modifications to the public entity’s policies, practices, or
                procedures will not eliminate that risk.

                The determination that a person poses a direct threat to the health or
                safety of others may not be based on generalizations or stereotypes
                about the effects of a particular disability. It must be based on an
                individualized assessment, based on reasonable judgment that
                relies on current medical evidence or on the best available
                objective evidence, to determine: the nature, duration, and severity
                of the risk; the probability that the potential injury will actually
                occur; and whether reasonable modifications of policies, practices,
                or procedures will mitigate the risk. This is the test established by
                the Supreme Court in Arline. Such an inquiry is essential if the
                law is to achieve its goal of protecting disabled individuals from
                discrimination based on prejudice, stereotypes, or unfounded fear,
                while giving appropriate weight to legitimate concerns, such as
                the need to avoid exposing others to significant health and safety
                risks. Making this assessment will not usually require the services
                of a physician. Sources for medical knowledge include guidance
                from public health authorities, such as the U.S. Public Health
                Service, the Centers for Disease Control, and the National Institutes
                of Health, including the National Institute of Mental Health.

 Id. (emphasis added).

        In 2010, the DOJ took this concept further, specifically promulgating “direct threat”

 regulations applicable to Title II. 28 C.F.R. App. A to Part 35 (comments on the definition of

 “direct threat” and § 35.139). 28 C.F.R. § 35.139 – Direct Threat currently provides as follows:

                (a) This part does not require a public entity to permit an individual
                    to participate in or benefit from the services, programs, or
                    activities of that public entity when that individual poses
                    a direct threat to the health or safety of others.

                (b) In determining whether an individual poses a direct threat to the
                    health or safety of others, a public entity must make an
                    individualized assessment, based on reasonable judgment that
                    relies on current medical knowledge or on the best available
                    objective evidence, to ascertain: the nature, duration, and
                    severity of the risk; the probability that the potential injury will

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                         actually occur; and whether reasonable modifications of
                         policies, practices, or procedures or the provision of auxiliary
                         aids or services will mitigate the risk.

            In the face of a safety issue, only an accommodation that would eliminate significant risk

 can subject the proponent to qualification under the ADA. See Osborne v. Baxter Healthcare

 Corp., 798 F.3d 1260, 1269-70 (10th Cir. 2015) (employment context). The direct threat analysis

 can be a “complicated, fact intensive determination,” correlating with the DOJ’s instruction to rely

 upon “guidance from public health authorities.” See id.; 28 C.F.R. App. B to Part 35. Following

 such guidance is exactly what the School District did in this case.

            Community transmission of COVID-19 is high in 49 of the 50 states, including in

 Colorado. CDC COVID Data Tracker, at https://covid.cdc.gov/covid-data-tracker/#datatracker-

 home. Mask mandates, as currently employed throughout facilities in the U.S. District Court of

 Colorado,4 are implemented because “scientific evidence shows that the wearing of facial

 coverings by individuals assists in reducing virus transmission by reducing the spread of

 respiratory droplets.” Doc. 2-10, p. 1. They are especially important in the school setting to protect

 the health of children and prevent interference with in-person learning. Id., p. 2. It follows that

 when a person wants to enter a school setting without wearing a mask, the safety of everyone there

 is implicated. 28 C.F.R. App. B to Part 35. Indeed, the local public health authority, following

 national public health guidance, has essentially determined that not wearing a mask presents such

 a significant and serious risk of COVID-19 transmission to vulnerable populations that masks must

 be mandated in school settings. Doc. 2-10.




 4
     District Court General Order 2021-10.

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        When Navarro approached the School District about an exemption from the mask

 requirement, which directly implicated a safety issue, the School District did exactly what 28

 C.F.R. § 35.139(b) required it to do under those circumstances: attempt to conduct an

 “individualized assessment” of Navarro based on current medical knowledge informed by public

 health authorities to ascertain the risk posed to the School District community and determine

 whether it could be significantly mitigated. To make that judgment, it relied upon “current medical

 knowledge,” suggested by the Appendix to the Regulation itself to be “guidance from public health

 authorities:” the PHO. 28 C.F.R. App. B to Part 35.

        As instructed by the DOJ, the School District followed the instructions of its “public health

 authority,” TCHD, within the PHO: it asked Navarro to provide: “a statement provided by a

 Colorado-licensed medical provider on the provider’s letterhead including the following: a.

 Medical provider’s printed name, license number, address, phone number; b. Signature of the

 medical provider; [and] c. Identification of the medical condition preventing the individual from

 wearing a mask and any recommended alternative to the mask.” Doc. 2-10, p. 3; see 28 C.F.R.

 App. B to Part 35.

        Discouraging the “individualized assessment” the School District was charged with

 performing, Navarro provided none of this information. The statement she provided was not from

 a medical provider as defined by TCHD, it did not list a “medical condition,” and—perhaps most

 importantly for this particular individualized assessment—it did not list “any recommended

 alternative to the mask.” Without any alternatives recommended, the letter Navarro supplied

 simply asked that she be excused from wearing a mask, which had been deemed a safety risk from

 the very beginning. The result of the School District’s “individualized assessment” required by 28


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 C.F.R. § 35.139(b) could therefore be nothing other than that Navarro would constitute a “direct

 threat” for whom participation was not required by 29 C.F.R. § 35.139(a). It follows that she is not

 a “qualified individual” entitled to relief by the ADA and has no likelihood of success on the

 merits.

                 b. The School District did not Discriminate Against Navarro When Requesting
                    Documentation that Complied with the PHO.5

            Completely ignoring the controlling direct threat analysis discussed above, Navarro asserts

 she need not have presented any documentation at all in support of her request for accommodation.

 Motion, ¶¶ 21-24. This is wrong. While the ADA does not require a claimant provide expert

 evidence of their disability to prove a prima facie case in every instance (such as when it is

 obvious), it is well known that those to whom the claimant presents a request for accommodation

 can require documentation as a prerequisite to granting one. See, e.g., Rhodes v. S. Nazarene Univ.,

 554 F. App’x 685, 690 (10th Cir. 2014) (unpublished) (public accommodation context); Ware v.

 Wy. Bd. of Law Examiners, 973 F. Supp. 1339, 1357 (Title II context; “court cannot find that the

 Board’s action in requesting specific information from the applicant’s treating physician regarding

 accommodation violated the ADA”); Wells v. Shalala, 228 F.3d 1137, 1145-46 (10th Cir. 2000)

 (employment context); Padilla v. Mnuchin, 2020 WL 1852431, *12 (D. Colo. Apr. 13, 2020),

 aff’d, 836 F. App’x 674 (10th Cir. 2020) (unpublished) (employment context).

            Navarro also asserts that the “medical documentation” she supplied should have been

 sufficient in any event. This, too, is incorrect. The letter Navarro provided from her counselor did

 not indicate the “medical condition preventing [her] from wearing a mask.” Doc. 2-10, p. 3. The



 5
     This section addresses the first question posed by the Court in Doc. 7.

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 letter states that Navarro cannot “medically tolerate a face covering due to a prior suffocation

 trauma that she has experienced.” Doc. 2-2, p. 4. No “medical condition” is identified here.6 Nor

 did the letter give “any recommended alternative to the mask” or even state that there was no such

 alternative. Doc. 2-10, p. 3. Even if this documentation was supplied by a “medical provider,” it

 would not be sufficient, mooting the debate regarding whether a licensed professional counselor

 can supply sufficient information to support an exemption from a public health measure.

            In any event, Navarro’s position in that debate is substantially undermined by her own

 statements. She published a recording of herself indicating that her “doctors at UCHealth,” the

 institution from which she had supplied information about her “health issues,” would “not give an

 exemption.” Ex. A, ¶ 8, Ex. A-1. She had published a video of herself indicating that she “does

 not want to comply” with mask mandates. Ex. A, ¶ 13; Ex. A-2. She made a social media posting

 indicating that she could wear a mask to perform physical exercise in order to prepare for a coming

 “civil war.” Ex. A, ¶ 8. Finally, she stated she was supplying documentation from her “Dr.,” yet

 the statement was not from a doctor. Doc. 2-3, pp. 2-3.

            Documentation provided by a person seeking accommodations “may be insufficient where

 ‘other factors indicate that the information provided is not credible or is fraudulent.’” Turcotta v.

 Comcast Cable Commc’ns Mgmt., LLC, 2019 WL 635409, *13 (D. N.H. 2019) (citing EEOC

 Enforcement Guidance: Disability-Related Inquiries and Medical Examinations of Employees

 under the Americans with Disabilities Act (2000), 2000 WL 33407181 at *11). This evidence

 called Navarro’s request for an exemption into obvious question. Asking for information from a

 medical provider of the sort TCHD suggested to support an exemption was in no way


 6
     The letter supplies a “mental health diagnostic code,” but says no more.

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 inappropriate, particularly during a generational pandemic and given Navarro’s previous

 statements. Briggs v. Walker, 88 F. Supp. 2d 1196, 1205 (D. Kan. 2000), citing Theriault v. Flynn,

 162 F.3d 50 (1st Cir. 1998) (In another related ADA context, finding that “When the safety of the

 public at large is implicated, public entities must be permitted some latitude in their judgments that

 individualized assessments of qualifications are necessary.”).

            c. Navarro’s Request for Injunctive Relief has been Mooted by the Provision of
               Remote Participation Opportunities.

        Under the ADA, even a qualified individual is not entitled to the accommodation of their

 choice, but only to a reasonable accommodation. Brown v. Esper, 2019 WL 6893019, *5 (D. Colo.

 Dec. 18, 2019) (unpublished), citing Smith v. Midland Brake, Inc., 180 F.3d 1154, 1177 (10th Cir.

 1999). Navarro has been afforded the opportunity to participate remotely in all future candidate

 forums offered or sponsored by the School District, and in fact has done so once already. By doing

 so, Navarro can participate in the proceedings—answering questions from and communicating

 with the audience, just as the other candidates do—from a place where she need not wear a mask.

 To the extent she is entitled to an accommodation at all, Navarro has been reasonably

 accommodated. Nothing further is required.

        This moots her request for a mandatory injunction. Utah Animal Rights Coalition v. Salt

 Lake City Corp., 371 F.3d 1248, 1256 (10th Cir. 2004) (“An actual controversy must be extant at

 all stages of review, not merely at the time the complaint is filed,” and “[a] case is moot when the

 issues presented are no longer ‘live’ or the parties lack a legally cognizable interest in the

 outcome.”).




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     B. Navarro is Not Facing Irreparable Harm.

         “To constitute irreparable harm, an injury must be certain, great, actual and not theoretical.”

 Heideman v. S. Salt Lake City, 348 F.3d 1182, 1189 (10th Cir. 2003) (internal quotation omitted).

 “[M]erely serious or substantial” harm is not enough. Id. Additionally, “the injury complained of”

 must be “of such imminence that there is a clear and present need for equitable relief to prevent

 irreparable harm.” Id. Because Navarro has not established irreparable injury, her request for a

 preliminary injunction should be denied. See Dominion Video Satellite, Inc. v. Echostar Satellite

 Corp., 356 F.3d 1256, 1260 (10th Cir. 2004) (“[T]he moving party must first demonstrate that such

 injury is likely before the other requirements for the issuance of an injunction will be considered.”).

         Especially given that Navarro has been permitted to participate in the remaining candidate

 forums, Navarro cannot establish she will suffer irreparable harm without an injunction. Just as

 any other candidate for the Board, Navarro can answer questions from and communicate with

 audience members at all remaining forums sponsored by the School District. While Navarro is

 likely to argue that she will somehow be harmed by not participating in person—apparently, unlike

 other candidates, without a mask—any such harm is unclear and speculative. That will not suffice.

 State v. U.S. Envtl. Prot. Agency, 989 F.3d 874, 884 (10th Cir. 2021) (A speculative or theoretical

 injury will not suffice to show a significant risk of harm without a grant of preliminary injunction).7

     C. Issuing an Injunction Would be Against the Public Interest and Will Cause More
        Harm to the School District Than Navarro Would Face Without One.

         As a threshold matter, “the state’s interest in preventing the spread of COVID-19 and

 protecting individuals’ health is substantial.” Miranda v. Alexander, 2021 WL 4352329, *6 (M.D.


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   Countering any such speculative harm, remote participation arguably gives Navarro an advantage of a different
 sort—being able to show facial expressions by communicating with potential voters bare-faced.

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 La. September 24, 2021) (unpublished), (citing Roman Catholic Diocese of Brooklyn v. Cuomo, -

 -- U.S. ----, 141 S. Ct. 63, 67, 208 L. Ed. 2d 206 (2020) (“Stemming the spread of COVID-19 is

 unquestionably a compelling interest.”)). “Wearing a mask in public places serves that interest.”

 Id. “Indeed, at this point in the pandemic, a nearly unanimous consensus of the public health

 community recommends the use of masks as a means of reducing the spread of the virus and

 protecting the mask wearer from it.” Id. (citing the CDC).

        To the extent Navarro would suffer any harm as a result of participating in the candidate

 forums on a remote basis (and the School District asserts she will suffer no harm it all), it is

 certainly outweighed by the public interest in avoiding community spread of COVID-19 and the

 need to avoid the potential harm of children becoming ill or having their learning disrupted. See

 id.; see also Disability Rts. S.C. v. McMaster, 2021 WL 4444841, at *9 (D. S.C. Sept. 28, 2021)

 (unpublished) (enjoining enforcement of state law disallowing school districts from mandating

 masks because it discriminates against children with disabilities; “No one can reasonably argue

 that it is an undue burden to wear a mask to accommodate a child with disabilities.”); ARC of Iowa

 v. Reynolds, 2021 WL 4166728, *13 (S.D. Iowa Sept. 13, 2021) (unpublished) (enjoining

 enforcement of law prohibiting school mask mandates to ensure that children are not irreparably

 harmed). The balance of harms does not favor Navarro here.

                                           CONCLUSION

        For these reasons, Navarro’s request for a preliminary injunction must be denied, and it is

 appropriate to do so without a hearing.




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        RESPECTFULLY SUBMITTED this 4th day of October, 2021.

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 I hereby certify that the foregoing pleading complies with the type-volume limitation (5,500
 words) set forth in Judge Domenico’s Practice Standard III(A)(2).

                               CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of October, 2021, a correct copy of the foregoing
 DEFENDANTS’ RESPONSE TO MOTION FOR PRELIMINARY INJUNCTION was filed
 via CM/ECF and served on the following:

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